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                                                    Exhibit D

                                          List of Bank Accounts



                                                                                      Last 4 Digits of
       Debtor                       Institution                 Account Type
                                                                                      Account Number
 1.    Amerifirst Financial, Inc.   Alliance Bank of Arizona    Business Analysis     4484
 2.    Amerifirst Financial, Inc.   Alliance Bank of Arizona    Servicing             7714
 3.    Amerifirst Financial, Inc.   Alliance Bank of Arizona    FHLMC                 4044
 4.    Amerifirst Financial, Inc.   Alliance Bank of Arizona    FHLMC                 8051
 5.    Amerifirst Financial, Inc.   Alliance Bank of Arizona    FNMA                  0270
 6.    Amerifirst Financial, Inc.   Alliance Bank of Arizona    FNMA                  4271
 7.    Amerifirst Financial, Inc.   Alliance Bank of Arizona    GNMA                  2288
 8.    Amerifirst Financial, Inc.   Alliance Bank of Arizona    GNMA                  2949
 9.    Amerifirst Financial, Inc.   Alliance Bank of Arizona    Portfolio             1398
 10.   Amerifirst Financial, Inc.   Alliance Bank of Arizona    Portfolio             7385
 11.   Amerifirst Financial, Inc.   BMO Harris Bank N.A.        Checking Acct.        8588
 12.   Amerifirst Financial, Inc.   Chase Bank                  MIP                   4209
 13.   Amerifirst Financial, Inc.   Chase Bank                  Operating             4191
 14.   Amerifirst Financial, Inc.   Chase Bank                  Payroll               6620
 15.   Amerifirst Financial, Inc.   Chase Bank                  Servicing             7122
 16.   Amerifirst Financial, Inc.   Chase Bank                  Trust (appraisals)    4217
 17.   Amerifirst Financial, Inc.   Chase Bank                  Savings               9872
 18.   Amerifirst Financial, Inc.   Chase Bank                  Savings               3952
 19.   Amerifirst Financial, Inc.   Wells Fargo                 Checking Acct.        4352
 20.   Amerifirst Financial, Inc.   Veritex                     DACA                  5415
 21.   Amerifirst Financial, Inc.   Veritex                     WH Checking           9327
 22.   Amerifirst Financial, Inc.   Centier                     Operating             7532
 23.   Amerifirst Financial, Inc.   Centier                     Reserve               8813
       Captive Insurance -
 24.                                Chase Bank                  Checking              9687
       Malaby Insurance, Inc.
 25.   Phoenix 1040                 Citizens Bank               Operating             4721




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